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corporate relationship between these entities. The Defendants should not be

allowed to assert facts relating to any program or its purpose having been granted

by the Court their request to limit discovery to ownership. In any event, this

statement does not show the Defendant Trust owns the Plaintiff’s loan. The state

court found otherwise. See Ex. C.

      17.    Admitted that the loans covered by the Pool Supplement are set forth

in a Schedule 1. Denied to the extent that the Defendants claim to have produced

Schedule 1 to the Pool Supplement, but have not done so and have no credible factual

to assert this for the reasons set forth above. CSMF 5-36.

      18.    Denied. The testimony provided by Meyer is that he produced excel

spreadsheets from a MS Access Database that was populated by “loan tapes”. See

CSMF 25 herein. The contention is also contradicted by Luke’s prior testimony that         Formatted: Font: Bold


it was TERI’s role to originate the loans. See ECF 112-1 at ¶ 9. It is also inconsistent

with the terms of the Loan Database Agreement that identified TERI as the holder

of the unredacted loan information and only provided for FMER to receive a

“delivered database” of the loans. See again Ex. H.

      19.    Denied. See CSMF 25. Also, the Pool Supplement does not describe              Formatted: Font: Bold


Schedule I as an electronically formatted rather than a paper document attachment.

Thus, Meyer testified that the roster excel spreadsheet which Movant is referring to

herein “would serve as Schedule 1”, i.e., it is not actually Schedule 1 to the Pool

                                          30
